    Case 19-12215-VFP          Doc 46     Filed 06/04/20 Entered 06/04/20 11:35:00               Desc Main
                                          Document Page 1 of 2

 Marie-Ann Greenberg MAG-1284
 Marie-Ann Greenberg, Standing Trustee
 30 TWO BRIDGES ROAD
 SUITE 330
 FAIRFIELD, NJ 07004-1550
 973-227-2840
 Chapter 13 Standing Trustee

                                                            UNITED STATES BANKRUPTCY COURT
 IN RE:                                                     DISTRICT OF NEW JERSEY
   BRIAN W. HAMILTON                                        Case No.: 19-12215 VFP
   ELIZABETH A. HAMILTON,
                                      Debtors
                                        NOTICE OF RESERVE ON CLAIM
Creditor:           GREENSKY LLC
Trustee Claim #:     5
Court Claim #        3
Claimed Amount:      $1,261.13
Date Claim Filed:    02/19/2019

Please be advised that a reserve has been placed on the above named claim for the following reason:

       Disbursement checks have been returned as undeliverable. A change of address must be filed with the Court.
       A change of address must be filed with the Court by the creditor or creditor’s attorney ONLY. The Trustee’s
       records will not be updated by the filing of any other party.


Unless we receive the information needed and the necessary documents are filed with the Court, we will continue to
reserve the funds and the funds will be sent to the United States Bankruptcy Court upon the closing of the case .



                                                          By: /S/ Marie-Ann Greenberg
Dated: June 04, 2020                                          Chapter 13 Standing Trustee
  Case 19-12215-VFP        Doc 46   Filed 06/04/20 Entered 06/04/20 11:35:00   Desc Main
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BRIAN W. HAMILTON
ELIZABETH A. HAMILTON
403 HIGH STREET
NORWOOD, NJ 07648

GREENSKY LLC
PO BOX 71215
CHARLOTTE, NC      28272

GREENSKY, LLC
1797 NORTHEAST EXPRESSWAY, SUITE 100
ATLANTA, GA 30329

WARREN D. LEVY, ESQ.
KEAVENEY LEGAL GROUP
1000 MAPLEWOOD DRIVE
SUITE 202
MAPLE SHADE, NJ 08052
